           Case 14-61829-pmb                         Doc 52           Filed 01/10/18 Entered 01/10/18 13:45:46           Desc Main
                                                                     Document      Page 1 of 11

                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Gregory Simms                                                                                Case No.   14-61829
                                                                                   Debtor(s)             Chapter    13



                                                           AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Schedule I and Schedule J




                                        NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:
     attached creditor matrix




 Date: January 10, 2018                                                 /s/ Tami Wells Thomas
                                                                        Tami Wells Thomas #747854
                                                                        Attorney for Debtor(s)
                                                                        The Wells Thomas Law Firm, LLC
                                                                        2385 Wall Street
                                                                        Conyers, GA 30013
                                                                        404 260-7449 Fax:888 257-6610
                                                                        Tami@wellsthomaslaw.com




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
             Case 14-61829-pmb                    Doc 52    Filed 01/10/18 Entered 01/10/18 13:45:46                                 Desc Main
                                                           Document      Page 2 of 11


Fill in this information to identify your case:

Debtor 1                      Gregory Simms

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number               14-61829                                                                       Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing post-petition chapter
                                                                                                             13 income as of the following date:

Official Form B 6I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                     12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            Sales Consultant                             Planning and Policy Dev
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Sonic Automotive                             Department of Behavioral Health

       Occupation may include student        Employer's address    Stone Mountain Toyota                        2 Peachtree Street NW
       or homemaker, if it applies.                                5065 US Hwy 78                               Suite 25-474
                                                                   Stone Mountain, GA 30087                     Atlanta, GA 30303

                                             How long employed there?         4 years                                    1 year

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $         2,170.00        $         4,812.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      2,170.00               $   4,812.00




Official Form B 6I                                                      Schedule I: Your Income                                                    page 1
            Case 14-61829-pmb              Doc 52        Filed 01/10/18 Entered 01/10/18 13:45:46                                 Desc Main
                                                        Document      Page 3 of 11

Debtor 1     Gregory Simms                                                                        Case number (if known)    14-61829


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      2,170.00       $         4,812.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        497.00       $          1,007.00
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $              0.00
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $            144.00
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $              0.00
      5e.    Insurance                                                                     5e.        $        284.00       $            388.00
      5f.    Domestic support obligations                                                  5f.        $          0.00       $              0.00
      5g.    Union dues                                                                    5g.        $          0.00       $              0.00
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $              0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            781.00       $          1,539.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          1,389.00       $          3,273.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $                0.00
      8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
      8e. Social Security                                                                  8e.        $              0.00   $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                    0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                    0.00
      8h. Other monthly income. Specify: BONUS                                             8h.+ $              365.00 + $                    0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            365.00       $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              1,754.00 + $       3,273.00 = $            5,027.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $           5,027.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form B 6I                                                     Schedule I: Your Income                                                        page 2
        Case 14-61829-pmb                     Doc 52          Filed 01/10/18 Entered 01/10/18 13:45:46                                   Desc Main
                                                             Document      Page 4 of 11


Fill in this information to identify your case:

Debtor 1                Gregory Simms                                                                      Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing post-petition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA                                               MM / DD / YYYY

Case number           14-61829                                                                              A separate filing for Debtor 2 because Debtor
(If known)                                                                                                           2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                                                  12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file a separate Schedule J.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?
      Do not state the                                                                                                                     No
      dependents' names.                                                                                                                   Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                          Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                              985.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            125.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             30.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form B 6J                                                   Schedule J: Your Expenses                                                 page 1
       Case 14-61829-pmb                      Doc 52         Filed 01/10/18 Entered 01/10/18 13:45:46                                       Desc Main
                                                            Document      Page 5 of 11

Debtor 1     Gregory Simms                                                                             Case number (if known)       14-61829

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 225.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  69.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 304.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                450.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                115.00
10.   Personal care products and services                                                    10. $                                                 180.00
11.   Medical and dental expenses                                                            11. $                                                  75.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 440.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                 725.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  210.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).          18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    HOA                                                                 21. +$                                                 35.00
      Wife's credit card payments                                                                 +$                                               305.00
      spouse's student loan                                                                       +$                                               354.00
22. Your monthly expenses. Add lines 4 through 21.                                                           22.      $                      4,627.00
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                              5,027.00
    23b. Copy your monthly expenses from line 22 above.                                                     23b. -$                             4,627.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 400.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.
      Explain:




Official Form B 6J                                                  Schedule J: Your Expenses                                                       page 2
                Case 14-61829-pmb                        Doc 52          Filed 01/10/18 Entered 01/10/18 13:45:46                Desc Main
                                                                        Document      Page 6 of 11
B 6 Summary (Official Form 6 - Summary) (12/13)


          s
          l
          d
          e
          h
          c
          f
          y
          a
          u
          S
          .
          6
          m
          r
          o
          F
          {
          1
          k
          b
          }




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re          Gregory Simms                                                                                Case No.      14-61829
                                                                                                        ,
                                                                                       Debtor
                                                                                                              Chapter                     13




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF          ASSETS                LIABILITIES               OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                 110,000.00


B - Personal Property                                          Yes            3                    8,903.00


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                         141,432.08


E - Creditors Holding Unsecured                                Yes            2                                           7,253.16
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            2                                          13,030.03
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            2                                                                    5,027.00
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                    4,627.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    16


                                                                        Total Assets            118,903.00


                                                                                         Total Liabilities              161,715.27




Software Copyright (c) 1996-2016 - Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                Case 14-61829-pmb                        Doc 52          Filed 01/10/18 Entered 01/10/18 13:45:46                    Desc Main
                                                                        Document      Page 7 of 11
B 6 Summary (Official Form 6 - Summary) (12/13)


          D
          R
          d
          L
          n
          e
          C
          f
          y
          u
          l
          c
          s
          i
          a
          t
          S
          .
          6
          m
          r
          o
          F
          {
          1
          k
          b
          }




                                                               United States Bankruptcy Court
                                                                       Northern District of Georgia
  In re           Gregory Simms                                                                                      Case No.   14-61829
                                                                                                          ,
                                                                                        Debtor
                                                                                                                     Chapter                 13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)                                                      0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                              7,253.16

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                  0.00

              Student Loan Obligations (from Schedule F)                                                          0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                  0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                  0.00

                                                                              TOTAL                           7,253.16


              State the following:

              Average Income (from Schedule I, Line 12)                                                       5,027.00

              Average Expenses (from Schedule J, Line 22)                                                     4,627.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                        5,497.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                     31,432.08

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                              7,253.16

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                               13,030.03

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           44,462.11




Software Copyright (c) 1996-2016 - Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case 14-61829-pmb                         Doc 52           Filed 01/10/18 Entered 01/10/18 13:45:46          Desc Main
                                                                     Document      Page 8 of 11




                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Gregory Simms                                                                               Case No.   14-61829
                                                                                    Debtor(s)           Chapter    13




                                                      AMENDED
                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                      I declare under penalty of perjury that I have read the foregoing document(s), consisting of      11    page(s),
            and that they are true and correct to the best of my knowledge, information, and belief.




 Date January 10, 2018                                                  Signature   /s/ Gregory Simms
                                                                                    Gregory Simms
                                                                                    Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
    Case 14-61829-pmb   Doc 52    Filed 01/10/18 Entered 01/10/18 13:45:46   Desc Main
                                 Document      Page 9 of 11

x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                         Cach LLC
                         Frederick Hanna
                         1427 Roswell Drive
                         Marietta, GA 30062


                         Duvera
                         1910 Palomar Point Way
                         Suite 101
                         Carlsbad, CA 92008


                         ERS Solutions Inc.
                         800 39th Street
                         P.O. Box 9004
                         Renton, WA 98057


                         GECRB/Rooms to Go
                         P.O. Box 95036
                         Orlando, FL 32896


                         Indymac Bank/One West Bank
                         155 North Lake Avenue
                         6th Floor
                         Pasadena, CA 91101


                         Internal Med Assoc of Rockdale
                         1301 Wellbrook Circle
                         Conyers, GA 30012


                         Internal Revenue Service
                         401 W. Peachtree Street
                         N.W., Stop 334-D
                         Atlanta, GA 30308-3539


                         Internal Revenue Service
                         Centralized Insolvency Oper.
                         P.O. Box 7346
                         Philadelphia, PA 19101-7346
Case 14-61829-pmb   Doc 52    Filed 01/10/18 Entered 01/10/18 13:45:46   Desc Main
                             Document     Page 10 of 11


                     Midland Funding LLC
                     American InfoSource LP as agen
                     P.O. Box 4457
                     Houston, TX 77210


                     Morris Hardwick Schneider
                     1301 Hightower Trail
                     Suite 305
                     Atlanta, GA 30350


                     One West Bank
                     Home Loan Servicing
                     6900 Beartice Drive
                     Kalamazoo, MI 49009


                     Portfolio Investments
                     c/o Recovery Mgmt Systems Corp
                     25 SE 2nd Avenue, Suite 1120
                     Miami, FL 33131


                     Portfolio Recovery Assoc LLC
                     P.O. Box 41067
                     Norfolk, VA 23541


                     Quantum3 Group LLC
                     MOMA Funding LLC
                     P.O. Box 788
                     Kirkland, WA 98083


                     R R HOA Inc.
                     Leuder Larkin & Hunter
                     5900 Windward Parkway, Ste 390
                     Alpharetta, GA 30005


                     Rockdale Hospital Medical Ctr
                     Frost Arnett Co
                     P.O. Box 198988
                     Nashville, TN 37219
Case 14-61829-pmb   Doc 52    Filed 01/10/18 Entered 01/10/18 13:45:46   Desc Main
                             Document     Page 11 of 11


                     Sprint
                     Convergent Outsourcing
                     500 SW 7th Street Bldg A 100
                     Renton, WA 98055


                     Sprint Nextel Correspondence
                     Attn Bankruptcy Dept
                     P.O. Box 7949
                     Overland Park, KS 66207-0949
